                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )   No. 3:11-00012-14
v.                                             )   Judge Sharp
                                               )
DEMETRIUS DUNCAN                               )
                                               )


                                          ORDER


       On January 25, 2013, the Court held a hearing on the pending Defendant’s Motion to Change

Location of Pretrial Confinement (Docket No. 1287) and Motion to Withdraw (Docket No. 1301).

       At the hearing, Defendant withdrew his Motion to Withdraw, and the Clerk is instructed to

term the pending motion.

       For the reasons stated in open court, Defendant’s Motion to Change location of Pretrial

Confinement is hereby DENIED .

       IT IS SO ORDERED.




                                                   ________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012         Document 1335      Filed 01/29/13     Page 1 of 1 PageID #: 6611
